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                    UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF WEST VIRGINIA
                            AT CHARLESTON



SEBERT JR. MAXWELL III,

           Movant

v.                                          CIVIL ACTION NO. 2:04-0866
                                            (Criminal No. 2:02-00021-02)

UNITED STATES OF AMERICA,

           Respondent


                      MEMORANDUM OPINION AND ORDER


           The court having received the proposed findings and

recommendation of the United States Magistrate Judge filed on

July 25, 2005, pursuant to the provisions of 28 U.S.C.

§ 636(b)(1)(B); and having reviewed the record in this proceed-

ing; and there being no objections filed by either the United

States or the movant to the proposed findings and recommendation;

and it appearing proper so to do, it is ORDERED that the findings

and conclusions made in the proposed findings and recommendation

of the magistrate judge be, and they hereby are, adopted by the

court.


           It is, accordingly, ORDERED that the movant's section

2255 motion be, and it hereby is, denied.
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           The Clerk is directed to forward copies of this order

to the movant, all counsel of record, and the magistrate judge.


                                         DATED: April 10, 2006


                                         John T. Copenhaver, Jr.
                                         United States District Judge




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